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CERTIFICATE OF GOOD STANDING

Pursuant to Rule 83.5.3 of the Local Rules of the United States District Court for

the District of Massachusetts, |, Linda P. Nussbaum, hereby certify that:

1.

| was admitted to the bar of the State of New York in 1978 and of District of
Columbia Bar in 2003. 1 was also admitted to practice in the United States
District Courts for the Southern and Eastern Districts of New York in 1979.
| am a member in good standing in every jurisdiction where | have been admitted
practice.
No disciplinary proceedings are pending against me as a member of any bar in
any jurisdiction.
| am familiar with the Local Rules of the United States District Court for the
District of Massachusetts.
My name, firm name, street address, telephone number, fax number and email
address are as follows:

Linda P. Nussbaum, Esq.

Cohen, Milstein, Hausfeld & Toil, P.L-L.C.

450 East 52™ Street, 30" Floor

New York, New York 10022-6017

(212) 838-7797

(212) 838-7745 (Fax)
Inussbaum@cmht.com

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Ld wf

Linda P. Nussbaum

Dated: March 11, 2005
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
(www.mad.uscourts.gov)

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Nussbaum Linda P.
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BBO#
Law Firm: Cohen, Milstein, Hausfeld & Toll, P.L.L.C.

Building/Suite: 30th Fleer
Street Address: 150 East 52nd Street

City, State, ZIP: New York, New York 10022

Telephone: 212-858-7797 cay: 212-838-7745

E-Mail: (for service of electronically filed papers) Nussbaum@cmht.com

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Please specify date of admission to U.S. District Court far the District of Massachusetts:

U.S, Govemment attorney:

lfadmitted pro hac vice: Date motion for pro hac vice granted_ Ci in CaSO NUMber

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